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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                     :
U.S. BANK NATIONAL ASSOCIATION,                                      :
solely in its capacity as Trustee,                                   :
                                                                     :
                                     Interpleader Plaintiff,         :   Case No. 1:18-cv-04044 (VM)
                                                                     :
                  - against -                                        :
                                                                     :
TRIAXX ASSET MANAGEMENT LLC                                          :
(f/k/a ICP ASSET MANAGEMENT LLC);                                    :
TRIAXX PRIME CDO 2006-1, LTD.; TRIAXX                                :
PRIME CDO 2006-2, LTD.; TRIAXX PRIME CDO :
2007-1, LTD.; PACIFIC INVESTMENT                                     :
MANAGEMENT COMPANY, LLC; GOLDMAN                                     :
SACHS & CO.; PHOENIX REAL ESTATE                                     :
SOLUTIONS LTD., CEDE & CO. and                                       :
JOHN DOES 1- 100,                                                    :
                                                                     :
                                     Interpleader Defendants. :
                                                                     :
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            ANSWER AND CROSSCLAIMS OF INTERPLEADER DEFENDANT
                    PHOENIX REAL ESTATE SOLUTIONS LTD.

                  Interpleader Defendant Phoenix Real Estate Solutions Ltd. (“Phoenix”), by and

through its undersigned attorneys, hereby answers the allegations of the First Amended

Interpleader Complaint filed July 20, 2018 (“Complaint”).

                  Insofar as the allegations in the Complaint pertain to the conduct of any person

other than Phoenix, Phoenix denies knowledge or information sufficient to form a belief as to the

truth of such allegations.
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                  1.   Phoenix denies the allegations in paragraph 1, except admits that this is an

Interpleader action concerning Phoenix’s rights to be paid the Phoenix Invoices and Interpleader

Legal Fees. 1

                  2.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 2, except admits upon information and belief that U.S.

Bank serves as the Collateral Administrator and the Trustee for Triaxx Prime CDO 2006-1, Ltd.,

Triaxx Prime CDO 2006-2, Ltd., and Triaxx Prime CDO 2007-1, Ltd., except respectfully refers

the Court to the documents referenced in paragraph 2 for a complete and accurate statement of

their contents.

                  3.   Phoenix denies the allegations in paragraph 3, except admits upon

information and belief that the Collateral Manager periodically directs U.S. Bank to include the

Phoenix Invoices in the Note Valuation Reports and pay such invoices out of the available

proceeds on the Payment Date, except respectfully refers the Court to the documents referenced

in paragraph 3 for a complete and accurate statement of their contents.

                  4.   Phoenix denies the allegations in paragraph 4.

                  5.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 5, except admits that Phoenix asserts it is contractually

entitled to the payment of Interpleader Legal Fees.

                  6.   Paragraph 6 purports to state legal conclusions to which no response is

required. To the extent a response is required, Phoenix denies knowledge or information

sufficient to form a belief as to the truth of the allegations in paragraph 6.



       1
       Unless otherwise noted, capitalized terms have the same meaning as set forth in the
Complaint.

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               7.      Paragraph 7 purports to state legal conclusions to which no response is

required. To the extent a response is required, Phoenix denies knowledge or information

sufficient to form a belief as to the truth of the allegations in paragraph 7.

               8.      Paragraph 8 purports to state legal conclusions to which no response is

required. To the extent a response is required, Phoenix denies knowledge or information

sufficient to form a belief as to the truth of the allegations in paragraph 8, except admits that

Phoenix has offices in New York, New York.

               9.      Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 9, except admits upon information and belief that U.S.

Bank serves as the Collateral Administrator and the Trustee for Triaxx Prime CDO 2006-1, Ltd.,

Triaxx Prime CDO 2006-2, Ltd., and Triaxx Prime CDO 2007-1, Ltd.

               10.     Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 10, except admits that Triaxx Asset Management serves

as the Collateral Manager for the Issuer.

               11.     Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 11.

               12.     Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 12.

               13.     Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 13.

               14.     Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 14.




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                  15.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 15.

                  16.   Phoenix denies the allegations in paragraph 16, except admits that it has

offices at 459 Broadway, New York, NY 10013.

                  17.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 17.

                  18.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 18.

                  19.   Phoenix denies the allegations in paragraph 19 except respectfully refers

the Court to the documents referenced in paragraph 19 for a complete and accurate statement of

their contents.

                  20.   Phoenix denies the allegations in paragraph 20 except respectfully refers

the Court to the documents referenced in paragraph 20 for a complete and accurate statement of

their contents.

                  21.   Phoenix denies the allegations in paragraph 21 except respectfully refers

the Court to the documents referenced in paragraph 21 for a complete and accurate statement of

their contents.

                  22.   Phoenix denies the allegations in paragraph 22 except respectfully refers

the Court to the documents referenced in paragraph 22 for a complete and accurate statement of

their contents.

                  23.   Phoenix denies the allegations in paragraph 23 except respectfully refers

the Court to the documents referenced in paragraph 23 for a complete and accurate statement of

their contents.



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                  24.   Phoenix denies the allegations in paragraph 24 except respectfully refers

the Court to the documents referenced in paragraph 24 for a complete and accurate statement of

their contents.

                  25.   Phoenix denies the allegations in paragraph 25 except respectfully refers

the Court to the documents referenced in paragraph 25 for a complete and accurate statement of

their contents.

                  26.   Phoenix denies the allegations in paragraph 26 except respectfully refers

the Court to the documents referenced in paragraph 26 for a complete and accurate statement of

their contents.

                  27.   Phoenix denies the allegations in paragraph 27 except respectfully refers

the Court to the documents referenced in paragraph 27 for a complete and accurate statement of

their contents.

                  28.   Phoenix denies the allegations in paragraph 28 except respectfully refers

the Court to the documents referenced in paragraph 28 for a complete and accurate statement of

their contents.

                  29.   Phoenix denies the allegations in paragraph 29, except admits upon

information and belief that, from time to time, the Collateral Manager has directed proceeds be

used to pay Phoenix, and respectfully refers the Court to the documents referenced in paragraph

29 for a complete and accurate statement of their contents.

                  30.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 30 except respectfully refers the Court to the documents

referenced in paragraph 30 for a complete and accurate statement of their contents.




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                  31.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 31.

                  32.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 32.

                  33.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 33 except respectfully refers the Court to the document

referenced in paragraph 33 for a complete and accurate statement of its contents.

                  34.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 34 except respectfully refers the Court to the document

referenced in paragraph 34 for a complete and accurate statement of its contents.

                  35.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 35 except respectfully refers the Court to the documents

referenced in paragraph 35 for a complete and accurate statement of their contents.

                  36.   Phoenix denies the allegations in paragraph 36 except respectfully refers

the Court to the documents referenced in paragraph 36 for a complete and accurate statement of

their contents.

                  37.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 37 except respectfully refers the Court to the document

referenced in paragraph 37 for a complete and accurate statement of its contents.

                  38.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 38 except respectfully refers the Court to the document

referenced in paragraph 38 for a complete and accurate statement of its contents.




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                  39.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 39 except respectfully refers the Court to the document

referenced in paragraph 39 for a complete and accurate statement of its contents.

                  40.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 40.

                  41.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 41, except admits that the Trustee is withholding funds

due to Phoenix.

                  42.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 42.

                  43.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 43 except respectfully refers the Court to the document

referenced in paragraph 43 for a complete and accurate statement of its contents.

                  44.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 44 except respectfully refers the Court to the document

referenced in paragraph 44 for a complete and accurate statement of its contents.

                  45.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 45.

                  46.   Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 46.

                  47.   Phoenix denies the allegations in paragraph 47 except respectfully refers

the Court to the documents referenced in paragraph 47 for a complete and accurate statement of

their contents.



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               48.     Phoenix denies the allegations in paragraph 48.

               49.     Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 49.

               50.     Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 50.

               51.     Phoenix denies knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 51.

               52.     Phoenix admits that the action is not brought by collusion with it and

otherwise denies the allegations in paragraph 52.

                                  AFFIRMATIVE DEFENSES

               Phoenix states the following affirmative defenses and reserves its right to assert

other and additional defenses, cross-claims, and third-party claims not asserted herein of which it

becomes aware through discovery or other investigation as may be appropriate at a later time. In

asserting these affirmative defenses, Phoenix does not assume any burden of proof, persuasion,

or production with respect to any issue where the applicable law places the burden upon another

party.

                              FIRST AFFIRMATIVE DEFENSE

               The Complaint fails to state a claim against Phoenix upon which relief can be

granted.

                             SECOND AFFIRMATIVE DEFENSE

               Interpleader Plaintiff has not suffered, and will not suffer, injury or damages as a

result of any conduct by Phoenix, and therefore is barred from maintaining this action.



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                             THIRD AFFIRMATIVE DEFENSE

               Interpleader Plaintiff does not have a basis to withhold payments to Phoenix

because the noteholders’ objections to the payments are barred by estoppel, laches, and/or

waiver.

                             FOURTH AFFIRMATIVE DEFENSE

               Interpleader Plaintiff does not have a basis to withhold payments to Phoenix

because the noteholders’ objections to the payments are barred by the statute of limitations.

                              FIFTH AFFIRMATIVE DEFENSE

               Interpleader Plaintiff does not have a basis to withhold payments to Phoenix

because the issuer CDOs are bound by the engagement letters with Phoenix.

                              SIXTH AFFIRMATIVE DEFENSE

               Interpleader Plaintiff does not have a basis to withhold payments to Phoenix

because Phoenix’s engagement was ratified by the issuer CDOs and/or the collateral manager

had apparent authority to enter into the engagement on behalf of the issuer CDOs.

                                        CROSSCLAIMS

               Phoenix alleges for its crossclaim against Interpleader Defendants Triaxx Prime

CDO 2006-1, Ltd. (“Triaxx CDO 2006-1”), Triaxx Prime CDO 2006-2, Ltd. (“Triaxx CDO

2006-2”), and Triaxx Prime CDO 2007-1, Ltd. (“Triaxx CDO 2007-1, ”together, with Triaxx

CDO 2006-1 and Triaxx CDO 2006-2, the “Issuers”) and Interpleader Defendants Pacific

Investment Management Company, LLC and Goldman Sachs & Co. (together, the

“Noteholders”) as follows:



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                                  NATURE OF THE ACTION

               53.     Phoenix seeks to recover unpaid fees for analytical and litigation support

services it has provided to the Issuers that have conferred, and continue to confer, benefits on the

Issuer and its Noteholders that add up to hundreds of millions of dollars. Beginning in 2011,

each Issuer hired Phoenix pursuant to an engagement letter, and agreed to pay Phoenix for its

services. Over the last seven years, the Issuers (and its Noteholders) have accepted and enjoyed

the benefits of Phoenix’s services. Because of Phoenix’s efforts, the Issuers have recovered tens

of millions of dollars arising out of deficiencies in the underwriting, origination, securitization,

and servicing of the residential mortgage-backed securities (“RMBS”) that are owned by each of

the Issuers, and pledged to U.S. Bank, N.A. (the “Trustee”) as trustee for the Noteholders. The

Issuers are due to receive at least tens of millions more based on judgments obtained through

Phoenix’s efforts that will be paid upon the resolution of the Residential Capital (“Rescap”)

bankruptcy. Correspondingly, the Issuers paid Phoenix in accordance with the engagement

letters for approximately seven years without complaint.

               54.     Despite the Issuers’ and Noteholders’ acceptance of Phoenix’s services

over the course of seven years, and the substantial recoveries obtained by the Issuers and the

Noteholders as a result of those services, in May 2018, the Trustee abruptly took the position that

it did not know whether Phoenix was entitled to payment and brought the instant interpleader

action (the “Action”). As Phoenix has now learned, certain Noteholders objected to the Issuers

paying Phoenix for services rendered and claim that the collateral manager, as opposed to the

Issuers, should pay Phoenix. The Noteholders are embroiled in another litigation with the

collateral manager, and their objections seven years after the commencement of the engagement

with Phoenix are nothing more than a transparent and improper litigation tactic.


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               55.     There is simply no basis for the Issuers, or the Trustee which acts on

instructions from the Issuers, to withhold payment in accordance with the engagement letters.

The Issuers contracted with Phoenix for services, received those services, and now must pay

Phoenix what it is owed. Phoenix is continuing to perform pursuant to the engagement letters

and is entitled to be compensated accordingly.

               56.     Additionally, as set forth in the engagement letters, the Issuers promised to

indemnify Phoenix for any and all losses or liabilities, including attorneys’ fees and legal

expenses, arising from Phoenix’s work for the Issuers. Thus, Phoenix’s legal fees incurred in

connection with this Action must be reimbursed by the Issuers.

                                              FACTS
The Engagement Letters

               57.     On March 22, 2011, the Issuers each executed identical engagement letters

with ARAM Phoenix Real Estate Solutions Ltd (the “Engagement Letters”). See Exs. A, B, &

C. Phoenix was previously referred to as ARAM Phoenix Real Estate Solutions Ltd. but later

changed its name. The Engagement Letters were executed on the Issuers’ behalf by their agent,

ICP Asset Management, LLC (“ICP”), which served as collateral manager.

               58.     Under the Engagement Letters, the Issuers engaged Phoenix to provide

“information and advice to, the Collateral Manager, with respect to strategies to optimize the

performance of the Designated Portfolio.” Id. § 2. This included reviewing and analyzing the

Designated Portfolio, collateral, and cash flows, as well as determining the optimization potential

of the Designated Portfolio. Id. The Engagement Letters also provided that Phoenix would

“provide activist implementation services.” Id. Activist implementation services included

analyzing borrower data, recommending strategies for mitigating defaults and refinancing, and

assisting the Issuer and the Collateral Manager in pursuing servicer remedies. Id.

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               59.     The Engagement Letters provided that, in exchange for Phoenix’s

services, the Issuers would pay Phoenix a monthly due diligence fee. See id. at Annex II. For

example, Triaxx CDO 2006-1 agreed to pay Phoenix $30,000 per month for the first two years of

the engagement, $20,000 in the third and fourth years of the engagement, and $15,000 for every

month thereafter. See Ex. A at Annex II.

               60.     The Issuers also agreed to pay Phoenix an “Activist Implementation Fee”

of $10,000 per month for each security for which it provided activist implementation services.

Id. at Annex I, p. 12; see also Ex. B at Annex I, p. 12; Ex. C at Annex I, p. 12. The Activist

Implementation Fee would be due once it exceeded $250,000 for a security or once the “recovery

of funds or assets related to such security” was complete. See id. The Engagement Letters also

provided for an incentive fee. If “funds or assets recovered by [the Issuer] relating to a security

exceeds $500,000, [the Issuer] shall pay to [Phoenix] an aggregate amount of Activist

Implementation Fees in respect of such security . . . equal to $250,000.” See id.

               61.     The Engagement Letters further provided that “the payment of all amounts

to which [Phoenix] is entitled . . . shall be as an Administrative Expense subject to the Priority of

Payments as described in the Indenture.” Id. § 12. Phoenix understood that the Indenture for

Triaxx CDO 2006-1 imposed a monthly cap of $175,000 for Administrative Expenses, while the

Indentures for the other two Issuers imposed a cap of $200,000 for such expenses. Accordingly,

it was possible that Phoenix would be paid a portion of its monthly fees while the outstanding

amount would be paid over the following months, depending on the amount of Administrative

Expenses the Issuers owed to others.




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               62.     In the Engagement Letters, each Issuer represented that “[i]t has the full

power and authority to enter into and consummate all transactions contemplated by this

Agreement.” Id. § 3.

               63.     The Issuers also agreed that they “shall indemnify and keep indemnified

[Phoenix] from and against any and all Liabilities which may be suffered or incurred by or

asserted against [Phoenix] arising out of or in connection with the performance of its or their

duties hereunder except such as may be due to the fraud or willful misconduct of [Phoenix].” Id.

§ 8.

               64.     The parties further confirmed their agreement concerning the payment of

incentive fees in three identical letters, dated August 8, 2014, from Phoenix to the Issuers, care of

the collateral manager. In particular, those letters provided that Phoenix’s incentive fees could

be paid from settlement proceeds. The Issuers confirmed that they agreed with those terms by

approving the payment of Phoenix’s incentive fees in accordance with those letters.

Phoenix’s Work Under the Engagement Letters
               65.     Phoenix began its work for the Issuers in 2011. Phoenix sent its monthly

invoices to the Collateral Manager—first ICP, and later, Triaxx Asset Management LLC.

               66.     Phoenix understood that the Collateral Manager sought payment approval

from the Issuers. For seven years between 2011 and the commencement of this Action, the

Issuers paid Phoenix in accordance with the Engagement Letters without objection by the

Trustee or Noteholders. Upon information and belief, the Issuers’ payments to Phoenix were

disclosed to the Noteholders in monthly reports by the Trustee.

               67.     Phoenix played a substantial role in enabling the Issuers to secure

recoveries of over $100 million by identifying and analyzing deficiencies in the underwriting,



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origination, securitization, and servicing of the residential mortgage-backed securities that are

owned by the Issuers and held by the Trustee as collateral for the benefit of the Noteholders.

                68.    Phoenix has been able to provide this significant assistance through its

systems and technology that it built from scratch. In order build this technology, which no one

had successfully done before, Phoenix expended tremendous efforts and its own funds. It

purchased servers and entered into expensive data contracts and spent years working with a team

of experienced bankers and software engineers designing, implementing, and fine tuning a

database of all real estate transactions in the United States over a decade. Without this

painstaking work, the Issuers and the Noteholders would not have received the significant

benefits that are discussed below.

                69.    As one example of how the systems have worked to the Issuers’ benefit, a

February 3, 2013 New York Times article describes how the database enabled the Issuers to

analyze securities issued by Countrywide and identify misconduct by Bank of America in

connection with loan modifications. See Ex. D.

                70.    Additionally, with Phoenix’s substantial assistance the Issuers executed a

confidential settlement agreement with a bank on August 27, 2014, which represented a

significant victory for the Issuers. In particular, Phoenix formulated the key theory for that

matter and provided analytical support that enabled the Issuers to support their theory. Again,

because no one had previously performed this kind of analysis, Phoenix had to test multiple

theories and analyze data over the course of many months in order to secure results for the

Issuers.

                71.    In connection with the Issuers’ intervention in Rescap’s bankruptcy

proceeding, Phoenix provided a different methodology of allocating representation and warranty



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losses which enabled the Issuers to secure tens of millions of dollars more than they would have

absent Phoenix’s assistance. Phoenix was the architect of the theory that the proposed settlement

allocation, which distributed the settlement proportionally across all tranches, unfairly

disadvantaged senior noteholders because junior noteholders had expected certain losses and

were compensated by higher coupons. In contrast, senior noteholders purchased credit

enhancements and expected significantly lower losses than junior noteholders, and accordingly,

received lower coupons. Thus, allocating the settlement proportionally regardless of tranche

would give junior noteholders a windfall because they had already received a higher coupon.

Phoenix’s proprietary systems calculated the expected losses of junior tranches as compared to

the unexpected, actual losses and showed how the settlement should be allocated to avoid

unfairly benefitting junior noteholders.

               72.     Phoenix’s role in the Rescap bankruptcy is documented in a September 8,

2012 New York Times article titled “How to Find Weeds in a Mortgage Pool.” See Ex. E.

Although it did not refer to Phoenix by name, the references to “Triaxx’s technology” are

references to Phoenix’s systems. Additionally, the article notes that Phoenix’s systems

undermined the arguments of Rescap that it would be a “herculean task to examine the loans in

the trusts to determine the validity of each investor’s claims.” See id. With Phoenix’s systems,

“it took only seven weeks or so to do a forensic analysis of the roughly 20,000 loans held by the

trusts in which it is an investor.” See id. The article further notes that Phoenix’s technology is

able to identify loans with inflated appraisals, properties that were not owner-occupied, and

mortgages for which the borrowers failed to make even a single payment. See id.

               73.     These recoveries have directly and substantially benefitted the Issuers and

the Noteholders. Upon information and belief, Phoenix’s role in securing these victories for the



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Issuers and Noteholders were disclosed to and known or reasonably knowable by the

Noteholders.

               74.     Phoenix continues to assist the Issuers in ongoing lawsuits against trustees

where the Issuers are asserting claims for tens of millions of dollars, and in at least two cases,

over $100 million each. Phoenix’s assistance has been crucial because Phoenix is able to

provide detailed loan-by-loan analyses, while other plaintiffs that can only provide sampling or

broadly plead their damages have failed because they do not have Phoenix’s capabilities.

The Issuers Cease Payments Without Justification
               75.     In or about May 2018, Phoenix learned that the Trustee refused to

implement the process of having the Issuers pay Phoenix for its services rendered as required

under the Engagement Letters.

               76.     From the Trustee’s interpleader complaint, Phoenix understands that

certain Noteholders objected to having the Issuers pay Phoenix as required by the Engagement

Letters and as the Issuers and the Trustee had been doing without objection for seven years

before such objections were raised.

               77.     Phoenix understands that the Noteholders assert that the Collateral

Manager, rather than the Issuers, should pay Phoenix’s bills. Phoenix further understands that

the Collateral Manager and the Noteholders are adversaries in a litigation concerning the sale of

certain collateral. Phoenix cannot help but conclude that this action is merely a litigation tactic

perpetrated by the Noteholders to put pressure on the Collateral Manager in this other action.

               78.     The Noteholders’ objections do not alter in any way the Issuers’

obligations to pay Phoenix pursuant to the Engagement Letters.

               79.     Phoenix continues to perform under the Engagement Letters.



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The Issuers Fail to Indemnify Phoenix
                80.     The Trustee commenced this Action in or about May 2018, naming

Phoenix as an interpleader defendant.

                81.     On or about June 5, 2018, Phoenix demanded that the Issuers indemnify it

for all expenses, including legal fees, incurred in defending the Action.

                82.     As of the date of this Answer & Crossclaim, the Issuers have not

responded to Phoenix’s demand, and have not indemnified Phoenix.

                               FIRST CLAIM FOR RELIEF
                      (BREACH OF CONTRACT AGAINST THE ISSUERS)
                83.     Phoenix repeats and re-alleges the allegations as set forth in paragraphs 1

through 82 as if fully set forth herein.

                84.     Phoenix and the Issuers entered into the Engagement Letters, which are

binding and valid contracts.

                85.     Phoenix has performed its obligations under the Engagement Letters.

                86.     The Issuers are obligated to pay Phoenix’s fees under the Engagement

Letters.

                87.     The Issuers, through the Trustee, have failed to pay Phoenix the amounts

owed under the Engagement Letters, and thereby breached their obligations thereunder.

                88.     By reason of the foregoing, Phoenix has sustained damages in amounts to

be determined at trial, but estimated to be not less than approximately $20.9 million, plus pre-

judgment interest and expenses.

                      SECOND CLAIM FOR RELIEF
  (IN THE ALTERNATIVE, FOR UNJUST ENRICHMENT AGAINST THE ISSUERS)

                89.     Phoenix repeats and re-alleges the allegations as set forth in paragraphs 1

through 88 as if fully set forth herein.


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                90.     As alleged above, the Engagement Letters are binding and enforceable

agreements that have been performed without objection for seven years. However, the

Noteholders have asserted that the Issuers are somehow free to disregard the terms of the

Engagement Letters, and that the Engagement Letters are somehow unauthorized. Based on the

Noteholders’ assertions, the Trustee has refused to implement the process for payment to

Phoenix under the terms of the Engagement Letters.

                91.     Phoenix asserts this crossclaim against the Issuers in the alternative event

that the Court were to find that the Issuers were not bound by the Engagement Letters.

                92.     Phoenix’s performance of its services has conferred substantial benefits

upon the Issuers, and the Issuers have accepted and reaped the benefit of Phoenix’s performance

for seven years without objection.

                93.     The Issuers have reaped substantial benefits—totaling in excess of $100

million dollars—at the expense of Phoenix, and it would be unjust for the Issuers to retain those

benefits.

                94.     By reason of the foregoing, Phoenix is entitled to a judgment awarding it

damages in an amount to be determined at trial, but not less than approximately $20.9 million,

plus pre-judgment interest and expenses.

                             THIRD CLAIM FOR RELIEF
                      (INDEMNIFICATION AGAINST THE ISSUERS)

                95.     Phoenix repeats and re-alleges the allegations as set forth in paragraphs 1

through 94 as if fully set forth herein.

                96.     Phoenix and the Issuers entered into the Engagement Letters, which are

binding and valid contracts.

                97.     Phoenix performed its obligations under the Engagement Letters.


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               98.     The Issuers are obligated to indemnify Phoenix for all expenses, including

the fees and expenses of legal counsel, incurred in defending this Action.

               99.     In breach of the Engagement Letters, the Issuers have failed to indemnify

Phoenix. As a result, Phoenix has been damaged, and continues to be damaged, in amounts to be

determined at trial.

               100.    The Issuers are obligated to promptly indemnify and hold harmless

Phoenix for all expenses, including legal fees, that it has incurred and will incur, in defending

this Action.

                   FOURTH CLAIM FOR RELIEF
(TORTIOUS INTERFERENCE WITH CONTRACT AGAINST THE NOTEHOLDERS)

               101.    Phoenix repeats and re-alleges the allegations as set forth in paragraphs 1

through 100 as if fully set forth herein.

               102.    Phoenix and the Issuers entered into the Engagement Letters, which are

binding and valid contracts.

               103.    The Noteholders knew that Issuers had engaged Phoenix to perform work

for them.

               104.    After seven years, the Noteholders objected, without justification, to the

Issuers paying Phoenix. The Noteholders contend that the Collateral Manager should pay

Phoenix instead. The Noteholders are adverse to the Collateral Manager in another lawsuit and

are acting with malice in objecting to the Issuers’ payment of Phoenix.

               105.    As a result of the Noteholders’ objections, the Issuers breached the

Engagement Letters and ceased paying Phoenix.




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               106.    By reason of the foregoing, Phoenix has sustained damages in amounts to

be determined at trial, but estimated to be not less than approximately $20.9 million, plus pre-

judgment interest and expenses.

                                    PRAYER FOR RELIEF

               WHEREFORE, Phoenix demands judgment against the Issuers and the

Noteholders as follows:

               (a)     Awarding Phoenix damages against the Issuers for breach of contract in an

                       amount to be determined at trial, but in any event no less than

                       approximately $20.9 million, plus pre-judgment interest and expenses;

               (b)     In the alternative, directing the Issuers to pay restitution to Phoenix as a

                       result of the Issuers’ unjust enrichment in an amount to be determined at

                       trial, but in any event no less than approximately $20.9 million, plus pre-

                       judgment interest and expenses;

               (c)     Declaring that the Issuers are in breach of their obligation to indemnify

                       Phoenix and awarding damages in an amount to be determined at trial;

               (d)     Awarding Phoenix damages against the Noteholders for tortious

                       interference with the Engagement Letters in an amount to be determined at

                       trial, but in any event no less than approximately $20.9 million, plus pre-

                       judgment interest and expenses;

               (e)     Awarding Phoenix its attorneys’ fees and all other costs reasonably

                       incurred in defense of this action; and

               (f)     Granting Phoenix such other and further relief as the Court deems just and

                       proper.


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Dated: New York, New York
       August 27, 2018

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